Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 1 of 81 Page ID
                                 #:29435




       EXHIBIT B
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 2 of 81 Page ID
                                 #:29436




                               Exhibit B, Page 89
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 3 of 81 Page ID
                                 #:29437




                               Exhibit B, Page 90
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 4 of 81 Page ID
                                 #:29438




       EXHIBIT C
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 5 of 81 Page ID
                                 #:29439




                               Exhibit C, Page 91
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 6 of 81 Page ID
                                 #:29440




                               Exhibit C, Page 92
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 7 of 81 Page ID
                                 #:29441




                               Exhibit C, Page 93
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 8 of 81 Page ID
                                 #:29442




                               Exhibit C, Page 94
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 9 of 81 Page ID
                                 #:29443




                               Exhibit C, Page 95
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 10 of 81 Page ID
                                  #:29444




                               Exhibit C, Page 96
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 11 of 81 Page ID
                                  #:29445




                               Exhibit C, Page 97
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 12 of 81 Page ID
                                  #:29446




                               Exhibit C, Page 98
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 13 of 81 Page ID
                                  #:29447




        EXHIBIT D
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 14 of 81 Page ID
                                  #:29448




                               Exhibit D, Page 99
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 15 of 81 Page ID
                                  #:29449




         EXHIBIT E
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 16 of 81 Page ID
                                  #:29450




                               Exhibit E, Page 100
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 17 of 81 Page ID
                                  #:29451




                               Exhibit E, Page 101
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 18 of 81 Page ID
                                  #:29452




                               Exhibit E, Page 102
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 19 of 81 Page ID
                                  #:29453




                               Exhibit E, Page 103
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 20 of 81 Page ID
                                  #:29454




                               Exhibit E, Page 104
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 21 of 81 Page ID
                                  #:29455




                               Exhibit E, Page 105
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 22 of 81 Page ID
                                  #:29456




                               Exhibit E, Page 106
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 23 of 81 Page ID
                                  #:29457




                               Exhibit E, Page 107
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 24 of 81 Page ID
                                  #:29458




                               Exhibit E, Page 108
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 25 of 81 Page ID
                                  #:29459




                               Exhibit E, Page 109
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 26 of 81 Page ID
                                  #:29460




                               Exhibit E, Page 110
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 27 of 81 Page ID
                                  #:29461




                               Exhibit E, Page 111
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 28 of 81 Page ID
                                  #:29462




                               Exhibit E, Page 112
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 29 of 81 Page ID
                                  #:29463




                               Exhibit E, Page 113
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 30 of 81 Page ID
                                  #:29464




                               Exhibit E, Page 114
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 31 of 81 Page ID
                                  #:29465




                               Exhibit E, Page 115
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 32 of 81 Page ID
                                  #:29466




                               Exhibit E, Page 116
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 33 of 81 Page ID
                                  #:29467




                               Exhibit E, Page 117
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 34 of 81 Page ID
                                  #:29468




                               Exhibit E, Page 118
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 35 of 81 Page ID
                                  #:29469




                               Exhibit E, Page 119
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 36 of 81 Page ID
                                  #:29470




                               Exhibit E, Page 120
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 37 of 81 Page ID
                                  #:29471




                               Exhibit E, Page 121
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 38 of 81 Page ID
                                  #:29472




                               Exhibit E, Page 122
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 39 of 81 Page ID
                                  #:29473




                               Exhibit E, Page 123
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 40 of 81 Page ID
                                  #:29474




                               Exhibit E, Page 124
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 41 of 81 Page ID
                                  #:29475




                               Exhibit E, Page 125
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 42 of 81 Page ID
                                  #:29476




                               Exhibit E, Page 126
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 43 of 81 Page ID
                                  #:29477




                               Exhibit E, Page 127
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 44 of 81 Page ID
                                  #:29478




                               Exhibit E, Page 128
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 45 of 81 Page ID
                                  #:29479




                               Exhibit E, Page 129
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 46 of 81 Page ID
                                  #:29480




                               Exhibit E, Page 130
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 47 of 81 Page ID
                                  #:29481




                               Exhibit E, Page 131
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 48 of 81 Page ID
                                  #:29482




                               Exhibit E, Page 132
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 49 of 81 Page ID
                                  #:29483




                               Exhibit E, Page 133
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 50 of 81 Page ID
                                  #:29484




                               Exhibit E, Page 134
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 51 of 81 Page ID
                                  #:29485




                               Exhibit E, Page 135
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 52 of 81 Page ID
                                  #:29486




                               Exhibit E, Page 136
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 53 of 81 Page ID
                                  #:29487




                               Exhibit E, Page 137
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 54 of 81 Page ID
                                  #:29488




                               Exhibit E, Page 138
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 55 of 81 Page ID
                                  #:29489




                               Exhibit E, Page 139
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 56 of 81 Page ID
                                  #:29490




                               Exhibit E, Page 140
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 57 of 81 Page ID
                                  #:29491




                               Exhibit E, Page 141
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 58 of 81 Page ID
                                  #:29492




                               Exhibit E, Page 142
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 59 of 81 Page ID
                                  #:29493




                               Exhibit E, Page 143
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 60 of 81 Page ID
                                  #:29494




                               Exhibit E, Page 144
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 61 of 81 Page ID
                                  #:29495




                               Exhibit E, Page 145
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 62 of 81 Page ID
                                  #:29496




                               Exhibit E, Page 146
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 63 of 81 Page ID
                                  #:29497




                               Exhibit E, Page 147
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 64 of 81 Page ID
                                  #:29498




                               Exhibit E, Page 148
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 65 of 81 Page ID
                                  #:29499




                               Exhibit E, Page 149
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 66 of 81 Page ID
                                  #:29500




                               Exhibit E, Page 150
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 67 of 81 Page ID
                                  #:29501




                               Exhibit E, Page 151
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 68 of 81 Page ID
                                  #:29502




                               Exhibit E, Page 152
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 69 of 81 Page ID
                                  #:29503




                               Exhibit E, Page 153
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 70 of 81 Page ID
                                  #:29504




                               Exhibit E, Page 154
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 71 of 81 Page ID
                                  #:29505




                               Exhibit E, Page 155
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 72 of 81 Page ID
                                  #:29506




                               Exhibit E, Page 156
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 73 of 81 Page ID
                                  #:29507




                               Exhibit E, Page 157
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 74 of 81 Page ID
                                  #:29508




                               Exhibit E, Page 158
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 75 of 81 Page ID
                                  #:29509




                               Exhibit E, Page 159
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 76 of 81 Page ID
                                  #:29510




                               Exhibit E, Page 160
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 77 of 81 Page ID
                                  #:29511




                               Exhibit E, Page 161
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 78 of 81 Page ID
                                  #:29512




                               Exhibit E, Page 162
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 79 of 81 Page ID
                                  #:29513




                               Exhibit E, Page 163
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 80 of 81 Page ID
                                  #:29514




                               Exhibit E, Page 164
Case 2:04-cv-09049-DOC-RNB Document 1993-4 Filed 02/07/08 Page 81 of 81 Page ID
                                  #:29515




                               Exhibit E, Page 165
